         Case 18-66766-jwc                    Doc 26          Filed 10/24/18 Entered 10/24/18 16:29:58                                Desc Main
                                                              Document     Page 1 of 30

 Fill in this information to identify the case
 Debtor name          Beautiful Brows LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number          18-66766                                                                                       Check if this is an
 (if known)
                                                                                                                     amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                               12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
            No. Go to Part 2.
            Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                        Current value of
                                                                                                                             debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    Platinum FCU checking account                                 Checking account                                                     $42.87
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                           $42.87


 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                          page 1
         Case 18-66766-jwc                 Doc 26         Filed 10/24/18 Entered 10/24/18 16:29:58                                     Desc Main
                                                          Document     Page 2 of 30
Debtor       Beautiful Brows LLC                                                          Case number (if known)      18-66766
             Name

                                                                                                                                Current value of
                                                                                                                                debtor's interest
7.   Deposits, including security deposits and utility deposits

     Description, including name of holder of deposit

8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

9.   Total of Part 2.
                                                                                                                                                $0.00
     Add lines 7 through 8. Copy the total to line 81.

 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

         No. Go to Part 4.
         Yes. Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest
11. Accounts receivable (owed from Tucker Imports, LLC

11a. 90 days old or less:              $0.00               –                 $0.00                  = .......................                   $0.00
                            face amount                        doubtful or uncollectible accounts

11b. Over 90 days old:             $264,335.00             –             $174,335.00                = .......................             $90,000.00
                            face amount                        doubtful or uncollectible accounts

12. Total of Part 3
                                                                                                                                          $90,000.00
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4: Investments

13. Does the debtor own any investments?

         No. Go to Part 5.
         Yes. Fill in the information below.
                                                                                           Valuation method                     Current value of
                                                                                           used for current value               debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

      Name of entity:                                          % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
                                                                                                                                                $0.00
    Add lines 14 through 16. Copy the total to line 83.

 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                                   page 2
         Case 18-66766-jwc                 Doc 26         Filed 10/24/18 Entered 10/24/18 16:29:58                           Desc Main
                                                          Document     Page 3 of 30
Debtor       Beautiful Brows LLC                                                       Case number (if known)    18-66766
             Name

     General description                         Date of the       Net book value of    Valuation method              Current value of
                                                 last physical     debtor's interest    used for current value        debtor's interest
                                                 inventory         (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                      $0.00

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                           Net book value of    Valuation method              Current value of
                                                                   debtor's interest    used for current value        debtor's interest
                                                                   (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
                                                                                                                                      $0.00
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                   No
                   Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                         page 3
         Case 18-66766-jwc                 Doc 26         Filed 10/24/18 Entered 10/24/18 16:29:58                            Desc Main
                                                          Document     Page 4 of 30
Debtor       Beautiful Brows LLC                                                        Case number (if known)    18-66766
             Name

 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method              Current value of
                                                                    debtor's interest    used for current value        debtor's interest
                                                                    (Where available)
39. Office furniture

     Misc. Office furniture and supplies located at
     Debtor's home office                                                                                                         $1,100.00
40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

     Town Center at Cobb: Misc. Salon Equipment,
     Materials, and furnishings located at Town
     Center at Cobb Mall (See attached list)                                                                                     $10,803.00
     Mall of Ga: Misc. Salon Equipment, Materials,
     and furnishings located at Mall of Georgia (See
     attached list)                                                                                                               $9,376.00
     Arbor Place: Misc. Salon Equipment, Materials,
     and furnishings located at Arbor Place Mall (See
     attached list)                                                                                                               $9,146.00
     3 Laser Hair Removal Machines                                                                                               $90,000.00
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
                                                                                                                               $120,425.00
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes

 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method              Current value of
     Include year, make, model, and identification numbers          debtor's interest    used for current value        debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

47.1. 2014 Acura MDX (94,000 miles) - subject to title lien with Platinum FCU in the amount of $9,488.92                         $14,900.00
47.2. 2013 Mercedes GL350 (86,000 miles) - subject to Platinum FCU title lien in the amount of $13,365.35                        $20,500.00




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                          page 4
    Case 18-66766-jwc   Doc 26   Filed 10/24/18 Entered 10/24/18 16:29:58   Desc Main
                                 Document     Page 5 of 30

                   EQUIPMENT INVENTORY LIST
            LOCATION:      TOWN CENTER AT COBB
#        Item Description              Value
 1 10 in 1 Facial Equipment-1      $      300.00
 2   Salon Chairs-4 Chairs         $      400.00
 3  Shampoo Bowls-1 Bowl           $      200.00
 4   Massage Beds-1 bed            $      100.00
 5     Facial Beds-2 beds          $      200.00
 6        Store Signage            $    4,000.00
 7         Sterilizers-6           $      240.00
 8      Salon Implements           $    1,000.00
 9       Work Stations-4           $      800.00
10       Wood Lamps-3              $      150.00
11       Work Trolleys-4           $      600.00
12       Skin Scanner-1            $       40.00
13        Fax Machine              $       20.00
14 Washer & Dryer Combo            $      400.00
15     Water Dispenser-1           $      150.00
16         Paintings-4             $      200.00
17         Benches-3               $      150.00
18       Barbicide jars-4          $      120.00
19         Cash Wrap               $    1,000.00
20          Steamer-1              $       35.00
21       Wax warmers-2             $       20.00
22         Microwave               $       50.00
23         Refrigerator            $      200.00
24        Wall Clocks-4            $       28.00
25        Wall Mirrors-4           $      200.00
26    Samsung 40" TV's-2           $      200.00
26
                        TOTAL $ 10,803.00
Case 18-66766-jwc   Doc 26   Filed 10/24/18 Entered 10/24/18 16:29:58   Desc Main
                             Document     Page 6 of 30

             EQUIPMENT INVENTORY LIST
            LOCATION:      ARBOR PLACE MALL
#         Item Description             Value
1    10 in 1 Facial Equipment-1    $      300.00
2      Salon Chairs-3 Chairs       $      300.00
3      Massage Beds-1 bed          $      100.00
4        Facial Beds-1 beds        $      100.00
5           Store Signage          $    4,000.00
6           Sterilizers - 5        $      200.00
7         Salon Implements         $    1,000.00
8          Work Stations-3         $      600.00
9       Samsung 40" TV's-2         $      200.00
10         Work Trolleys-4         $      600.00
11         Skin Scanner-1          $       40.00
12          Fax Machine            $       20.00
13      Waiting area chairs 6      $      120.00
14         Barbicide jars-3        $       90.00
15           Cash Wrap             $    1,000.00
16            Steamer-1            $       35.00
17         Wax warmers-2           $       20.00
18           Microwave             $       50.00
19           Refrigerator          $      200.00
20          Wall Clocks-3          $       21.00
21          Wall Mirrors-3         $      150.00

                         TOTAL $ 9,146.00
Case 18-66766-jwc   Doc 26   Filed 10/24/18 Entered 10/24/18 16:29:58   Desc Main
                             Document     Page 7 of 30

             EQUIPMENT INVENTORY LIST
            LOCATION:      ARBOR PLACE MALL
#         Item Description             Value
1    10 in 1 Facial Equipment-1    $      300.00
2      Salon Chairs-3 Chairs       $      300.00
3      Massage Beds-1 bed          $      100.00
4        Facial Beds-1 beds        $      100.00
5           Store Signage          $    4,000.00
6           Sterilizers - 5        $      200.00
7         Salon Implements         $    1,000.00
8          Work Stations-3         $      600.00
9       Samsung 40" TV's-2         $      200.00
10         Work Trolleys-4         $      600.00
11         Skin Scanner-1          $       40.00
12          Fax Machine            $       20.00
13      Waiting area chairs 6      $      120.00
14         Barbicide jars-3        $       90.00
15           Cash Wrap             $    1,000.00
16            Steamer-1            $       35.00
17         Wax warmers-2           $       20.00
18           Microwave             $       50.00
19           Refrigerator          $      200.00
20          Wall Clocks-3          $       21.00
21          Wall Mirrors-3         $      150.00

                         TOTAL $ 9,146.00
         Case 18-66766-jwc                 Doc 26         Filed 10/24/18 Entered 10/24/18 16:29:58                               Desc Main
                                                          Document     Page 8 of 30
Debtor       Beautiful Brows LLC                                                         Case number (if known)    18-66766
             Name

48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
                                                                                                                                    $35,400.00
    Add lines 47 through 50. Copy the total to line 87.

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes

 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.

55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property          Nature and extent       Net book value of     Valuation method       Current value of
       Include street address or other description   of debtor's interest    debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),         in property             (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

56. Total of Part 9.
                                                                                                                                          $0.00
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 5
         Case 18-66766-jwc                   Doc 26       Filed 10/24/18 Entered 10/24/18 16:29:58                            Desc Main
                                                          Document     Page 9 of 30
Debtor       Beautiful Brows LLC                                                         Case number (if known)   18-66766
             Name

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
                                                                                                                                       $0.00
    Add lines 60 through 65. Copy the total to line 89.

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                       Current value of
                                                                                                                       debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

     Potential claim against Arbor Place Mall for the mall's violation the exclusivity clause in
     Debtor's lease agreement                                                                                                     Unknown
     Nature of claim             lease dispute
     Amount requested


75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
                                                                                                                                       $0.00
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                         page 6
         Case 18-66766-jwc                             Doc 26             Filed 10/24/18 Entered 10/24/18 16:29:58                                             Desc Main
                                                                         Document      Page 10 of 30
Debtor           Beautiful Brows LLC                                                                                 Case number (if known)         18-66766
                 Name


 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                                  $42.87
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                               $90,000.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                             $120,425.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                      $35,400.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................               $0.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +                  $0.00

91. Total. Add lines 80 through 90 for each column.                        91a.            $245,867.87           +     91b.                  $0.00


                                                                                                                                                                   $245,867.87
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                         page 7
         Case 18-66766-jwc                  Doc 26          Filed 10/24/18 Entered 10/24/18 16:29:58                                 Desc Main
                                                           Document      Page 11 of 30

 Fill in this information to identify the case:
 Debtor name          Beautiful Brows LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number          18-66766                                                                                     Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.

 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          Ameris Bank                                      subject to a lien                                    $611,029.90              $120,467.87

          Creditor's mailing address                       personal property
          c/o Mark Golder                                  Describe the lien
          Golder Law LLC                                   SBA loan / Agreement
          101 Village Parkway, Building 1, Suite 4 Is the creditor an insider or related party?
          Marietta             GA 30067                 No
                                                               Yes
          Creditor's email address, if known
                                                           Is anyone else liable on this claim?
          Date debt was incurred       8/8/16                  No
                                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                   Contingent
              No                                               Unliquidated
              Yes. Specify each creditor, including this       Disputed
              creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                                 $847,004.34


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
         Case 18-66766-jwc                   Doc 26           Filed 10/24/18 Entered 10/24/18 16:29:58                                 Desc Main
                                                             Document      Page 12 of 30
Debtor       Beautiful Brows LLC                                                             Case number (if known) 18-66766

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.2     Creditor's name                                     Describe debtor's property that is
         Arbor Place II LLC                                  subject to a lien                                     $20,733.26                    $0.00

         Creditor's mailing address                          personal property
         c/o Scott M Shaw                                    Describe the lien
         835 Georgia Avenue, Suite 800                       lease / Agreement
                                                             Is the creditor an insider or related party?
         Chattanooga                TN     37402                  No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred          6/13/17                 No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.3     Creditor's name                                     Describe debtor's property that is
         Ascentium Capital                                   subject to a lien                                     $86,981.44                    $0.00

         Creditor's mailing address                          personal property
         23970 Highway 59N                                   Describe the lien
                                                             Collecting for - / Agreement
                                                             Is the creditor an insider or related party?
         Kingwood                   TX     77339                  No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred          2/15/17                 No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
         Case 18-66766-jwc                  Doc 26            Filed 10/24/18 Entered 10/24/18 16:29:58                                 Desc Main
                                                             Document      Page 13 of 30
Debtor       Beautiful Brows LLC                                                             Case number (if known) 18-66766

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.4     Creditor's name                                     Describe debtor's property that is
         Quarterspot:                                        subject to a lien                                    $128,259.74                    $0.00

         Creditor's mailing address                          personal property
         c/o Simon & Kokolis, LLC                            Describe the lien
         110 N. Washington St., Suite 500                    Collecting for - / Agreement
                                                             Is the creditor an insider or related party?
         Rockville                  MD    20850                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred       12/11/17                   No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3
           Case 18-66766-jwc               Doc 26        Filed 10/24/18 Entered 10/24/18 16:29:58                                Desc Main
                                                        Document      Page 14 of 30

 Fill in this information to identify the case:
 Debtor               Beautiful Brows LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number          18-66766                                                                                 Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
            No. Go to Part 2.
            Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1    Priority creditor's name and mailing address        As of the petition filing date, the
                                                                claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
           Case 18-66766-jwc              Doc 26        Filed 10/24/18 Entered 10/24/18 16:29:58                                Desc Main
                                                       Document      Page 15 of 30
Debtor         Beautiful Brows LLC                                                      Case number (if known)      18-66766

 Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
       claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim

     3.1    Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $51,093.70
                                                                    Check all that apply.
American Express                                                        Contingent
AllTran Financial                                                       Unliquidated
                                                                        Disputed
PO Box 722929
                                                                    Basis for the claim:
Houston                                   TX       77272-2929       Credit Card

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.2    Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $29,363.27
                                                                    Check all that apply.
American Express                                                        Contingent
Zwicker & Associates PC                                                 Unliquidated
                                                                        Disputed
80 Minute Man Road
                                                                    Basis for the claim:
Andover                                   MA       01810            Credit Card

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes
AMEX-61002 Zwicker & Associates PC 80 Minute Man Road, Andover, MA 01810


     3.3    Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                         $0.00
                                                                    Check all that apply.
American Express                                                        Contingent
c/o Becket & Lee LLP                                                    Unliquidated
                                                                        Disputed
POB 3001
                                                                    Basis for the claim:
Malvern                                   PA       19355            Notice Only

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.4    Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                 $180,000.00
                                                                    Check all that apply.
ARY Investments                                                         Contingent
304 Kent Valley Circle                                                  Unliquidated
                                                                        Disputed

                                                                    Basis for the claim:
Tucker                                    GA       30084            Profit Sharing claim

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes
ARY Investments: 304 Kent Valley Circle, Tucker, GA 30084




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
         Case 18-66766-jwc             Doc 26        Filed 10/24/18 Entered 10/24/18 16:29:58                              Desc Main
                                                    Document      Page 16 of 30
Debtor       Beautiful Brows LLC                                                    Case number (if known)      18-66766

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.5     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                 $347,964.23
                                                                Check all that apply.
FC Marketplace LLC                                                  Contingent
c/o Potter & Martin, LLP                                            Unliquidated
                                                                    Disputed
3945 Holcomb Bridge Road, Suite 300
                                                                Basis for the claim:
Peachtree Corners                      GA       30092           Credit account

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes
: Hays, 3945 Holcomb Bridge Road, Suite 300, Peachtree Corners, GA 30092

  3.6     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
First Data Merchant Cash Advance                                    Contingent
400 Corral Ridge Drive, MS C-230                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Coral Springs                          FL       33065           Credit account

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes
First Data Merchant Cash Advance: 400 Corral Ridge Drive, MS C-230, Coral Springs, FL 33065


  3.7     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $45,742.77
                                                                Check all that apply.
Gwinnett Place Mall GA LLC                                          Contingent
9101 Alta Dr., Suite 1801                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Las Vegas                              NV       89145           lease

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes
Gwinnett Place Mall GA LLC 9101 Alta Dr., Suite 1801, Las Vegas, NV 89145

  3.8     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $98,000.00
                                                                Check all that apply.
Kena Patel                                                          Contingent
1455 Satellite Blvd., Apt #2207                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Suwanee                                GA       30024           Profit Sharing claim

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes
Kena Patel: 1455 Satellite Blvd., Apt #2207, Suwanee, GA 30024




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3
         Case 18-66766-jwc             Doc 26       Filed 10/24/18 Entered 10/24/18 16:29:58                              Desc Main
                                                   Document      Page 17 of 30
Debtor       Beautiful Brows LLC                                                   Case number (if known)      18-66766

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.9     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $13,500.00
                                                               Check all that apply.
Kusumben Patel                                                     Contingent
3543 #A Old Chamblee Tucker Rd                                     Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Doraville                              GA     30340            Profit Sharing claim

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes
Kusumben Patel: 3543 #A Old Chamblee Tucker Road, Doraville, GA 30340

 3.10     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $39,659.57
                                                               Check all that apply.
Lenox Square Mall                                                  Contingent
Retail Property Trust C/O Lisa Harper                              Unliquidated
                                                                   Disputed
3340 Peachtree Rd NE, Suite 250
                                                               Basis for the claim:
Atlanta                                GA     30326            lease

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes
: , Esq 3340 Peachtree Rd NE, Suite 250, Atlanta, GA 30326


 3.11     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $30,000.00
                                                               Check all that apply.
Maheswari Gautam                                                   Contingent
5404 Keeport Drive, Apt 5,                                         Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Pittsburg                              PA     15236            Profit sharing claim

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes
Maheswari Gautam: 5404 Keeport Drive, Apt 5, Pittsburg, PA 15236

 3.12     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,842.20
                                                               Check all that apply.
Mall of Georgia                                                    Contingent
C/O Andrew Hazen, Hall Booth Smith PC                              Unliquidated
                                                                   Disputed
191 Peachtree Street NE, Suite 2900
                                                               Basis for the claim:
Atlanta                                GA     30303            lease

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes
: C/O Andrew Hazen, Hall Booth Smith PC, 191 Peachtree Street NE, Suite 2900, Atlanta, GA 30303




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                           page 4
         Case 18-66766-jwc             Doc 26       Filed 10/24/18 Entered 10/24/18 16:29:58                              Desc Main
                                                   Document      Page 18 of 30
Debtor        Beautiful Brows LLC                                                  Case number (if known)      18-66766

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.13     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $65,000.00
                                                               Check all that apply.
Minal Patel                                                        Contingent
4141 Oxcliff Grove                                                 Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Suwanee                                GA     30024            Profit Sharing claim

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes
Minal Patel: 4141 Oxcliff Grove, Suwanee, GA 30024

 3.14     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $60,000.00
                                                               Check all that apply.
Mohammad Ali                                                       Contingent
435 Gavenwood Drive                                                Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Lilburn                                GA     30047            Profit Sharing claim

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes
Mohammad Ali: 435 Gavenwood Drive, Lilburn, GA 30047


 3.15     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $60,000.00
                                                               Check all that apply.
Nazmur Aktar                                                       Contingent
5885 Princeton Run Trail                                           Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Tucker                                 GA     30084            Profit Sharing claim

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes
Nazmur Aktar: 5885 Princeton Run Trail, Tucker, GA 30084

 3.16     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $21,000.00
                                                               Check all that apply.
Northlake Mall                                                     Contingent
ATR Corinth Partners C/O Lisa Harper Esq                           Unliquidated
                                                                   Disputed
3340 Peachtree Rd NE, Suite 250
                                                               Basis for the claim:
Atlanta                                GA     30326            lease

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                           page 5
         Case 18-66766-jwc              Doc 26       Filed 10/24/18 Entered 10/24/18 16:29:58                              Desc Main
                                                    Document      Page 19 of 30
Debtor        Beautiful Brows LLC                                                   Case number (if known)      18-66766

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.17      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $95,000.00
                                                                Check all that apply.
Pareen Patel                                                        Contingent
642 Cobb Parkway South                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Marietta                               GA       30060           Profit Sharing claim

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes
Pareen Patel: 642 Cobb Parkway South, Marietta, GA 30060

 3.18      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $78,806.48
                                                                Check all that apply.
Phipps Plaza                                                        Contingent
C/O Lisa Harper, Esq                                                Unliquidated
                                                                    Disputed
3340 Peachtree Rd NE, Suite 250
                                                                Basis for the claim:
Atlanta                                GA       30326           lease

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes
Phipps Plaza: C/O Lisa Harper, Esq 3340 Peachtree Rd NE, Suite 250,


 3.19      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $75,231.39
                                                                Check all that apply.
Riverchase Galleria                                                 Contingent
Lightfoot, Franklin & White, LLC                                    Unliquidated
                                                                    Disputed
400 20th Street N
                                                                Basis for the claim:
Birmingham                             AL       35203           lease

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes
Riverchase Galleria: Lightfoot, Franklin & White, LLC 400 20th Street N, Birmingham, AL 35203

 3.20      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $60,000.00
                                                                Check all that apply.
Salima Dedani                                                       Contingent
3186 Yorkleigh Lane                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Snellville                             GA       30078           Profit Sharing claim

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes
Salima Dedani: 3186 Yorkleigh Lane, Snellville, GA 30078




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6
         Case 18-66766-jwc             Doc 26        Filed 10/24/18 Entered 10/24/18 16:29:58                              Desc Main
                                                    Document      Page 20 of 30
Debtor       Beautiful Brows LLC                                                    Case number (if known)      18-66766

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.21     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $1,251.29
                                                                Check all that apply.
Shaheen & Company                                                   Contingent
3625 Cumberland Blvd., Suite #250                                   Unliquidated
                                                                    Disputed
Shaheen & Company: 3625 Cumberland Blvd.
                                                                Basis for the claim:
                                                                lease

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes
Shaheen & Company: 3625 Cumberland Blvd., Suite #250, Atlanta, GA 30339

 3.22     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $30,000.00
                                                                Check all that apply.
Shamsur Nahar                                                       Contingent
5885 Princeton Run Tr                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Tucker                                 GA       30084           Profit Sharing claim

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes
Shamsur Nahar: 5885 Princeton Run Trail, Tucker, GA 30084


 3.23     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $32,909.63
                                                                Check all that apply.
Town Center at Cobb                                                 Contingent
c/o Andrew Hazen                                                    Unliquidated
                                                                    Disputed
Hall Booth Smith PC
191 Peachtree Street NE, Suite 2900                             Basis for the claim:
Atlanta                                GA       30303           lease

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes
Town Center @Cobb: C/O Andrew Hazen, Hall Booth Smith PC, 191 Peachtree Street NE, Suite 2900, Atlanta, GA 30303

 3.24     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   Unknown
                                                                Check all that apply.
Vimal Ahuja                                                         Contingent
805 Aberlady Place                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Birmingham                             AL       35242           labor dispute

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 7
         Case 18-66766-jwc            Doc 26        Filed 10/24/18 Entered 10/24/18 16:29:58                           Desc Main
                                                   Document      Page 21 of 30
Debtor      Beautiful Brows LLC                                               Case number (if known)      18-66766

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                        $0.00

5b. Total claims from Part 2                                                              5b.   +          $1,417,364.53


5c. Total of Parts 1 and 2                                                                5c.              $1,417,364.53
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 8
        Case 18-66766-jwc                 Doc 26         Filed 10/24/18 Entered 10/24/18 16:29:58                                   Desc Main
                                                        Document      Page 22 of 30

 Fill in this information to identify the case:
 Debtor name         Beautiful Brows LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number         18-66766                                 Chapter      11                                      Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       Mall Lease Agreement                            Arbor Place II LLC
          or lease is for and the       Contract to be ASSUMED                          c/o Scott M Shaw
          nature of the debtor's
          interest                                                                      835 Georgia Avenue, Suite 800

          State the term remaining
          List the contract
          number of any
                                                                                       Chattanooga                         TN            37402
          government contract

2.2       State what the contract       Mall Lease Agreement                            Mall of Georgia
          or lease is for and the       Contract to be ASSUMED                          c/o Hall Booth Smith PC
          nature of the debtor's
          interest                                                                      191 Peachtree St NE, Ste 2900

          State the term remaining
          List the contract
                                                                                       Atlanta                             GA            30303
          number of any
          government contract

2.3       State what the contract       Office Lease Agreement                          Shaheen & Co
          or lease is for and the       Contract to be ASSUMED                          3625 Cumberland Blvd, Ste 250
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
                                                                                       Atlanta                             GA            30339
          government contract

2.4       State what the contract       Mall Lease Agreement                            Town Center at Cobb
          or lease is for and the       Contract to be ASSUMED                          c/o Hall Booth Smith PC
          nature of the debtor's
          interest                                                                      191 Peachtree St NE, Ste 2900

          State the term remaining
          List the contract
                                                                                       Atlanta                             GA            30303
          number of any
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
        Case 18-66766-jwc                                Doc 26              Filed 10/24/18 Entered 10/24/18 16:29:58                                                                 Desc Main
                                                                            Document      Page 23 of 30

 Fill in this information to identify the case:


 Debtor Name Beautiful Brows LLC

 United States Bankruptcy Court for the:                   NORTHERN DISTRICT OF GEORGIA

 Case number (if known): 18-66766                                                                                                                                                   Check if this is an
                                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                               12/15



 Part 1:           Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                 $0.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                   $245,867.87
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                                     $245,867.87
         Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:           Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D...................................................... $847,004.34

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                 $0.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F.........................................................................................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                              + $1,417,364.53
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F..............................................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................ $2,264,368.87




Official Form 206Sum                                         Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
       Case 18-66766-jwc                  Doc 26         Filed 10/24/18 Entered 10/24/18 16:29:58                                Desc Main
                                                        Document      Page 24 of 30

 Fill in this information to identify the case and this filing:
 Debtor Name         Beautiful Brows LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number         18-66766
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
            or another individual serving as a representative of the debtor in this case.

            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
            correct:


                 Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                 Amended Schedule

                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                 (Official Form 204)

                 Other document that requires a declaration


            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on 10/23/2018                       X /s/ Saleema Delawalla (f/k/a Fnu Saleema)
                        MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                             Saleema Delawalla (f/k/a Fnu Saleema)
                                                             Printed name
                                                             Member
                                                             Position or relationship to debtor




Official Form B202                     Declaration Under Penalty of Perjury for Non-Individual Debtors
          Case 18-66766-jwc                               Doc 26              Filed 10/24/18 Entered 10/24/18 16:29:58                                                           Desc Main
                                                                             Document      Page 25 of 30
B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                           NORTHERN DISTRICT OF GEORGIA
                                                                  ATLANTA DIVISION
In re Beautiful Brows LLC                                                                                                           Case No.           18-66766

                                                                                                                                    Chapter            11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                              $11,900.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                             $11,900.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)
                                                                 Saleem & Saleema Delawalla

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

     d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
      Case 18-66766-jwc               Doc 26      Filed 10/24/18 Entered 10/24/18 16:29:58                          Desc Main
                                                 Document      Page 26 of 30
B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   10/24/2018                         /s/ Jason L Pettie
                      Date                            Jason L Pettie                               Bar No. 574783
                                                      Jason L Pettie, P.C.
                                                      P.O. Box 17936
                                                      Atlanta, GA 30316
                                                      Phone: (404) 638-5984




    /s/ Saleema Delawalla (f/k/a Fnu Saleema)
   Saleema Delawalla (f/k/a Fnu Saleema)
   Member
       Case 18-66766-jwc               Doc 26        Filed 10/24/18 Entered 10/24/18 16:29:58                                Desc Main
                                                    Document      Page 27 of 30

 Fill in this information to identify the case:
 Debtor name        Beautiful Brows LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number        18-66766                                                                                                Check if this is an
 (if known)                                                                                                                 amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                            12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and           Name, telephone        Nature of the claim    Indicate if     Amount of unsecured claim
 complete mailing               number, and email      (for example, trade    claim is        If the claim is fully unsecured, fill in only
 address, including zip         address of             debts, bank loans,     contingent,     unsecured claim amount. If claim is partially
 code                           creditor               professional           unliquidated,   secured, fill in total claim amount and
                                contact                services, and          or disputed     deduction for value of collateral or setoff to
                                                       government                             calculate unsecured claim.
                                                       contracts)
                                                                                              Total           Deduction        Unsecured
                                                                                              claim, if       for value        claim
                                                                                              partially       of
                                                                                              secured         collateral
                                                                                                              or setoff
1   Ameris Bank                                        SBA loan                                 $611,029.90     $120,467.87      $490,562.03
    c/o Mark Golder
    Golder Law LLC
    101 Village Parkway,
    Building 1, Suite 4
    Marietta, GA 30067
2   FC Marketplace LLC                                 Credit account                                                            $347,964.23
    c/o Potter & Martin, LLP
    3945 Holcomb Bridge
    Road, Suite 300
    Peachtree Corners, GA
    30092
3   ARY Investments                                    Profit Sharing claim                                                      $180,000.00
    304 Kent Valley Circle
    Tucker, GA 30084




4   Quarterspot:                                       Collecting for -                         $128,259.74            $0.00     $128,259.74
    c/o Simon & Kokolis, LLC
    110 N. Washington St.,
    Suite 500
    Rockville, MD 20850

5   Kena Patel                                         Profit Sharing claim                                                        $98,000.00
    1455 Satellite Blvd., Apt
    #2207
    Suwanee, GA 30024




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                       page 1
         Case 18-66766-jwc            Doc 26       Filed 10/24/18 Entered 10/24/18 16:29:58                               Desc Main
                                                  Document      Page 28 of 30
Debtor       Beautiful Brows LLC                                                 Case number (if known) 18-66766
             Name


 Name of creditor and         Name, telephone       Nature of the claim    Indicate if     Amount of unsecured claim
 complete mailing             number, and email     (for example, trade    claim is        If the claim is fully unsecured, fill in only
 address, including zip       address of            debts, bank loans,     contingent,     unsecured claim amount. If claim is partially
 code                         creditor              professional           unliquidated,   secured, fill in total claim amount and
                              contact               services, and          or disputed     deduction for value of collateral or setoff to
                                                    government                             calculate unsecured claim.
                                                    contracts)
                                                                                           Total           Deduction        Unsecured
                                                                                           claim, if       for value        claim
                                                                                           partially       of
                                                                                           secured         collateral
                                                                                                           or setoff
6   Pareen Patel                                    Profit Sharing claim                                                        $95,000.00
    642 Cobb Parkway
    South
    Marietta, GA 30060



7   Ascentium Capital                               Collecting for -                          $86,981.44            $0.00       $86,981.44
    23970 Highway 59N
    Kingwood, TX 77339




8   Phipps Plaza                                    lease                  Disputed                                             $78,806.48
    C/O Lisa Harper, Esq
    3340 Peachtree Rd NE,
    Suite 250
    Atlanta, GA 30326

9   Riverchase Galleria                             lease                  Disputed                                             $75,231.39
    Lightfoot, Franklin &
    White, LLC
    400 20th Street N
    Birmingham, AL 35203

10 Minal Patel                                      Profit Sharing claim                                                        $65,000.00
   4141 Oxcliff Grove
   Suwanee, GA 30024




11 Salima Dedani                                    Profit Sharing claim                                                        $60,000.00
   3186 Yorkleigh Lane
   Snellville, GA 30078




12 Nazmur Aktar                                     Profit Sharing claim                                                        $60,000.00
   5885 Princeton Run Trail
   Tucker, GA 30084




13 Mohammad Ali                                     Profit Sharing claim                                                        $60,000.00
   435 Gavenwood Drive
   Lilburn, GA 30047




Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                     page 2
         Case 18-66766-jwc            Doc 26        Filed 10/24/18 Entered 10/24/18 16:29:58                              Desc Main
                                                   Document      Page 29 of 30
Debtor       Beautiful Brows LLC                                                 Case number (if known) 18-66766
             Name


 Name of creditor and          Name, telephone      Nature of the claim    Indicate if     Amount of unsecured claim
 complete mailing              number, and email    (for example, trade    claim is        If the claim is fully unsecured, fill in only
 address, including zip        address of           debts, bank loans,     contingent,     unsecured claim amount. If claim is partially
 code                          creditor             professional           unliquidated,   secured, fill in total claim amount and
                               contact              services, and          or disputed     deduction for value of collateral or setoff to
                                                    government                             calculate unsecured claim.
                                                    contracts)
                                                                                           Total           Deduction       Unsecured
                                                                                           claim, if       for value       claim
                                                                                           partially       of
                                                                                           secured         collateral
                                                                                                           or setoff
14 American Express                                 Credit Card                                                                 $51,093.70
   AllTran Financial
   PO Box 722929
   Houston, TX 77272-2929



15 Gwinnett Place Mall GA                           lease                  Disputed                                             $45,742.77
   LLC
   9101 Alta Dr., Suite 1801
   Las Vegas, NV 89145



16 Lenox Square Mall                                lease                  Disputed                                             $39,659.57
   Retail Property Trust C/O
   Lisa Harper
   3340 Peachtree Rd NE,
   Suite 250
   Atlanta, GA 30326
17 Town Center at Cobb                              lease                                                                       $32,909.63
   c/o Andrew Hazen
   Hall Booth Smith PC
   191 Peachtree Street NE,
   Suite 2900
   Atlanta, GA 30303
18 Shamsur Nahar                                    Profit Sharing claim                                                        $30,000.00
   5885 Princeton Run Tr
   Tucker, GA 30084




19 Maheswari Gautam                                 Profit sharing claim                                                        $30,000.00
   5404 Keeport Drive, Apt
   5,
   Pittsburg, PA 15236



20 American Express                                 Credit Card                                                                 $29,363.27
   Zwicker & Associates
   PC
   80 Minute Man Road
   Andover, MA 01810




Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                     page 3
   Case 18-66766-jwc       Doc 26     Filed 10/24/18 Entered 10/24/18 16:29:58   Desc Main
                                         BEAUTIFUL BROWS
                                     Document            LLCof 30
                                                   Page 30
                                 BALANCE SHEET AS OF 3rd OCTOBER 2018.



                                              October 03, 2018
ASSETS
  Current Assets
     Checking/Savings
         Cash / Bank                                     42.87
     Total Checking/Savings                              42.87
  Total Current Assets                                   42.87
   Other Current Assets
          L/R - Tucker Imports                      264,335.00
   Total Other Current Assets                       264,335.00
   Fixed Assets
      Accumulated Depreciation                   (1,174,581.16)
      Improvements                                  961,596.00
      Autos                                          35,400.00
      Machinery & Equipment                         120,425.00
   Total Fixed Assets                               (57,160.16)
   Other Assets
      Rounding
   Total Other Assets                                      -
TOTAL ASSETS                                        207,217.71
LIABILITIES & EQUITY
   Liabilities
       Long Term Liabilities
            PFCU                                     13,365.35
            PFCU                                      9,488.92
            AMERIS BANK                             611,029.90
            FUNDING CIRCLE                          327,799.00
            ASCENTIUM                                86,981.44
            QUARTERSPORT                            128,259.74
      Total Long Term Liabilities                 1,176,924.35
   Total Liabilities                              1,176,924.35
   Equity
      Retained Earnings                            (555,906.64)
   Total Equity                                    (555,906.64)
TOTAL LIABILITIES & EQUITY                          621,017.71
